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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 07-60027-CR-ZLOCH/Snow


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.

            Defendants.
  ______________________________
                                     O R D E R

                 THIS CAUSE is before the Court on defendant Thomas

  Walker’s Motion to Adopt Motions of Co-Defendants (DE 403).           Being

  fully advised, it is hereby

              ORDERED AND ADJUDGED that the motion is GRANTED in part
  as to adopting Co-Defendants EVA's and Tropic's Motion to Dismiss

  Indictment (DE 344), except as to any matter where standing is an

  essential element of participation.         Any appeal from or objection

  to   any   magistrate    judge    ruling   must   be   taken   individually,

  specifically and timely.         It is further
              ORDERED AND ADJUDGED that the motion is DENIED as to a

  blanket adoption of all future motions to be filed in this case.

  Counsel shall file a motion to adopt specifically listing the

  motions for adoption.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 2nd

  day of July, 2007.




  Copies to:

  See Attached Service List
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                                 SERVICE LIST

                       USA v. FRANK HERNANDEZ, et al.

                      CASE NO. 06-60027-CR-ZLOCH/Snow




  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
  Bruce Lyons, Esq. (D-Antonio)
  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
  David Bogenschutz, Esq. (D-Antoniou)
  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
  Jeff Harris, Esq. (D-Cruz)
  Michael Hursey, Esq. (D-Walker)
  Richard Della Fera, Esq. (D-Echols)
  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




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